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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RAYMOND ALFORD BRADFORD,                          Case No. 19-cv-01922-PJH
                                                        Plaintiff,
                                   8
                                                                                           ORDER OF DISMISSAL
                                                 v.
                                   9
                                                                                           Re: Dkt. Nos. 6, 12
                                  10     ROSEN BIEN, et al.,
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Plaintiff, a state prisoner, has filed a pro se civil rights complaint under 42 U.S.C. §

                                  14   1983. On multiple occasions plaintiff has been informed that he must pay the filing fee

                                  15   or submit an application to proceed in forma pauperis (“IFP”). Plaintiff has failed to pay

                                  16   the filing fee or submit an IFP application. Plaintiff has instead submitted multiple filings

                                  17   seeking to proceed pursuant to 28 U.S.C. § 1915(g) arguing that he is under imminent

                                  18   danger of serious physical injury. Section 1915(g) is for plaintiffs who have three or more

                                  19   strikes and are unable to pay the filing fee. It is not clear if plaintiff can pay the filing fee

                                  20   or not as he has failed to submit the appropriate paperwork demonstrating that he is

                                  21   indigent. For these reasons the case is dismissed for his failure to comply with court

                                  22   orders and submit an IFP application.

                                  23          Because plaintiff states he is under imminent danger of serious physical injury, the

                                  24   court has reviewed the underlying complaint and this case should be dismissed with

                                  25   prejudice. The only defendants in this case are a law firm. Plaintiff alleges that

                                  26   defendants failed to provide the services that they agreed to provide. To state a claim

                                  27   under 42 U.S.C. § 1983, a plaintiff must allege two essential elements: (1) that a right

                                  28   secured by the Constitution or laws of the United States was violated, and (2) that the
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                                   1   alleged deprivation was committed by a person acting under the color of state law. West

                                   2   v. Atkins, 487 U.S. 42, 48 (1988). The law firm was not acting under color of state law;

                                   3   therefore, plaintiff cannot bring a claim under § 1983 against them. He should proceed in

                                   4   state court with his state law claims. To the extent that plaintiff states he is under

                                   5   imminent danger of serious physical injury, he describes incidents that occurred in

                                   6   prisons in other districts and he is currently incarcerated in the Eastern District of

                                   7   California. If he wishes to file actions against state actors, he must file those cases in the

                                   8   districts where the constitutional violations occurred. Because he has not described any

                                   9   incidents that occurred in this district, the case is dismissed.

                                  10                                          CONCLUSION

                                  11          1. Plaintiff’s motions to proceed under § 1915(g) (Docket Nos. 6, 12) are DENIED

                                  12   because plaintiff has failed to submit an IFP application and demonstrate that he is
Northern District of California
 United States District Court




                                  13   indigent.

                                  14          2. This action is DISMISSED with prejudice because plaintiff has failed to present

                                  15   a § 1983 claim. Plaintiff should proceed in state court with his state law claims.

                                  16          3. The clerks shall close this case.

                                  17          IT IS SO ORDERED.

                                  18   Dated: June 3, 2019

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                                                                                                 PHYLLIS J. HAMILTON
                                  21                                                             United States District Judge
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